       Case 06-90460-JM            Filed 10/12/07        Entered 10/12/07 11:05:15   Doc 22   Pg. 1 of 1


                                   UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF CALIFORNIA

                                                      Minute Order
Hearing Information:
              ADV: 06-90460                                                                                    0.00
              SCOTT M. FOREMAN VS NAOMI DYE-CHEN
                     Debtor:   NAOMI DYE-CHEN
               Case Number:    06-02200-JM7                   Chapter: 7
      Date / Time / Room:      FRIDAY, OCTOBER 12, 2007 10:00 AM DEPARTMENT 1
       Bankruptcy Judge:       JAMES W. MEYERS
        Courtroom Clerk:       MARCIA PEARSON
          Reporter / ECR:      NANCY WINGIS

Matter:
              PRE-TRIAL STATUS CONFERENCE FILED BY TIMOTHY J. SILVERMAN ON BEHALF OF SCOTT
              M. FOREMAN (fr 6/22)



Appearances:

        Pamela LaBryuere, ATTORNEY FOR SCOTT M. FOREMAN
        Judith A. Descalso, ATTORNEY FOR Naomi Dye-Chen

Disposition:                                                                                     1.00

        Continued 2/1/08 @10 am for pretrial; discovery cutoff 1/11/08




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